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                 UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT

                        Information Regarding Judgment and Post-Judgment Proceedings

              Judgment
                • This Court has filed and entered the attached judgment in your case. Fed. R.
                   App. P. 36. Please note the filed date on the attached decision because all of
                   the dates described below run from that date, not from the date you receive
                   this notice.

              Mandate (Fed. R. App. P. 41; 9th Cir. R. 41-1 & -2)
                • The mandate will issue 7 days after the expiration of the time for filing a
                  petition for rehearing or 7 days from the denial of a petition for rehearing,
                  unless the Court directs otherwise. To file a motion to stay the mandate, file
                  it electronically via the appellate electronic filing system or, if you are a pro
                  se litigant or an attorney with an exemption from the electronic filing
                  requirement, file one original motion on paper.

              Petition for Panel Rehearing (Fed. R. App. P. 40; 9th Cir. R. 40-1) Petition for
              Rehearing En Banc (Fed. R. App. P. 35; 9th Cir. R. 35-1 to -3)

              (1) Purpose
                  A. Panel Rehearing:
                     • A party should seek panel rehearing only if one or more of the following
                       grounds exist:
                            A material point of fact or law was overlooked in the decision;
                            A change in the law occurred after the case was submitted which
                             appears to have been overlooked by the panel; or
                            An apparent conflict with another decision of the Court was not
                             addressed in the opinion.
                     • Do not file a petition for panel rehearing merely to reargue the case.

                  B. Rehearing En Banc
                     • A party should seek en banc rehearing only if one or more of the
                       following grounds exist:
                            Consideration by the full Court is necessary to secure or maintain
                             uniformity of the Court’s decisions; or
                            The proceeding involves a question of exceptional importance; or


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                               The opinion directly conflicts with an existing opinion by another
                                court of appeals or the Supreme Court and substantially affects a
                                rule of national application in which there is an overriding need for
                                national uniformity.

              (2) Deadlines for Filing:
                  • A petition for rehearing must be filed within 14 days after entry of judgment.
                    Fed. R. App. P. 40(a)(1).
                  • If the United States or an agency or officer thereof is a party in a civil case,
                    the time for filing a petition for rehearing is 45 days after entry of judgment.
                    Fed. R. App. P. 40(a)(1).
                  • If the mandate has issued, the petition for rehearing should be accompanied
                    by a motion to recall the mandate.
                  • See Advisory Note to 9th Cir. R. 40-1 (petitions must be received on the due
                    date).
                  • An order to publish a previously unpublished memorandum disposition
                    extends the time to file a petition for rehearing to 14 days after the date of
                    the order of publication or, in all civil cases in which the United States or an
                    agency or officer thereof is a party, 45 days after the date of the order of
                    publication. 9th Cir. R. 40-2.

              (3) Statement of Counsel
                  • A petition should contain an introduction stating that, in counsel’s judgment,
                     one or more of the situations described in the “purpose” section above exist.
                     The points to be raised must be stated clearly.

              (4) Form & Number of Copies (9th Cir. R. 40-1; Fed. R. App. P. 32(c)(2))
                  • The petition shall not exceed 15 pages unless it complies with the alternative
                    length limitations of 4,200 words or 390 lines of text.
                  • The petition must be accompanied by a copy of the panel’s decision being
                    challenged.
                  • An answer, when ordered by the Court, shall comply with the same length
                    limitations as the petition.
                  • If a pro se litigant elects to file a form brief pursuant to Circuit Rule 28-1, a
                    petition for panel rehearing or for rehearing en banc need not comply with
                    Fed. R. App. P. 32.




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                  • The petition or answer must be accompanied by a Certificate of Compliance
                    found at Form 11, available on our website at www.ca9.uscourts.gov under
                    Forms.
                  • Attorneys must file the petition electronically via the appellate electronic
                    filing system. No paper copies are required unless the Court orders
                    otherwise. If you are a pro se litigant or an attorney exempted from using the
                    appellate ECF system, file one original petition on paper. No additional
                    paper copies are required unless the Court orders otherwise.

              Bill of Costs (Fed. R. App. P. 39, 9th Cir. R. 39-1)
                 • The Bill of Costs must be filed within 14 days after entry of judgment.
                 • See Form 10 for additional information, available on our website at
                     www.ca9.uscourts.gov under Forms.

              Attorneys Fees
                 • Ninth Circuit Rule 39-1 describes the content and due dates for attorneys
                   fees applications.
                 • All relevant forms are available on our website at www.ca9.uscourts.gov
                   under Forms or by telephoning (415) 355-8000.

              Petition for a Writ of Certiorari
                 • The petition must be filed with the Supreme Court, not this Court. Please
                     refer to the Rules of the United States Supreme Court at
                     www.supremecourt.gov.

              Counsel Listing in Published Opinions
                • Please check counsel listing on the attached decision.
                • If there are any errors in a published opinion, please send a letter in writing
                   within 10 days to:
                          Thomson Reuters; 610 Opperman Drive; PO Box 64526; Eagan,
                             MN 55123 (Attn: Maria Evangelista, maria.b.evangelista@tr.com);
                          and electronically file a copy of the letter via the appellate
                             electronic filing system by using the Correspondence filing
                             category, or if you are an attorney exempted from electronic filing,
                             mail the Court one copy of the letter.




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                                     UNITED STATES COURT OF APPEALS
                                          FOR THE NINTH CIRCUIT

                                                      Form 10. Bill of Costs
                    Instructions for this form: http://www.ca9.uscourts.gov/forms/form10instructions.pdf

              9th Cir. Case Number(s)

              Case Name
              The Clerk is requested to award costs to (party name(s)):




              I swear under penalty of perjury that the copies for which costs are requested
              were actually and necessarily produced, and that the requested costs were
              actually expended.

              Signature                                                               Date
              (use “s/[typed name]” to sign electronically-filed documents)

                                                                                      REQUESTED
               COST TAXABLE
                                                                             (each column must be completed)
                                                                      No. of     Pages per  Cost per      TOTAL
               DOCUMENTS / FEE PAID
                                                                      Copies       Copy        Page        COST
               Excerpts of Record*                                                                 $             $
               Principal Brief(s) (Opening Brief;
               Answering Brief; 1st, 2nd , and/or 3rd Brief                                        $             $
               on Cross-Appeal; Intervenor Brief)
               Reply Brief / Cross-Appeal Reply Brief                                              $             $

               Supplemental Brief(s)                                                               $             $
               Petition for Review Docket Fee / Petition for Writ of Mandamus Docket Fee /
                                                                                                                 $
               Appeal from Bankruptcy Appellate Panel Docket Fee
                                                                                                       TOTAL: $

              *Example: Calculate 4 copies of 3 volumes of excerpts of record that total 500 pages [Vol. 1 (10 pgs.) +
              Vol. 2 (250 pgs.) + Vol. 3 (240 pgs.)] as:
              No. of Copies: 4; Pages per Copy: 500; Cost per Page: $.10 (or actual cost IF less than $.10);
              TOTAL: 4 x 500 x $.10 = $200.
                                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

              Form 10                                                                                          Rev. 12/01/2021
